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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------X
  MELISSA KAYE,

                                                                       Docket No.: 18-CV-12137 (JPC)(JLC)
                                    Plaintiff,

                        -against-

  NEW YORK CITY HEALTH AND HOSPITALS
  CORPORATION; ELIZABETH FORD; ABHISHEK
  JAIN; JONATHAN WANGEL; and PATRICIA
  YANG (in their official and individual capacities and
  as aiders and abettors),

                                    Defendants.
  -----------------------------------------------------------------X
        Notice is hereby given that Plaintiff hereby appeals to the United States Court of Appeals

for the Second Circuit from the judgment granting, in full, Defendants’ motion for summary

judgment, the order and opinion having been rendered on March 31, 2023 by the Honorable John

P. Cronan, United States District Court Judge, and entered in this action on March 31, 2023.



Dated: Long Island City, New York
       April 28, 2023

                                                             RICOTTA & MARKS, P.C.

                                                             Attorneys for Plaintiff
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                                                             By: ____________/s_______________
                                                                         Thomas Ricotta
